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 9 Attorneys for United States of America

10                                    UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                            OAKLAND DIVISION

13   UNITED STATES OF AMERICA,                        )   CASE NO. 4:22-mj-70952-MAG
                                                      )
14           Plaintiff,                               )   STIPULATION AND ORDER TO CONTINUE
                                                      )   STATUS CONFERENCE RE: PRELIMINARY
15      v.                                            )   EXAMINATION AND EXCLUDE TIME UNDER
                                                      )   THE SPEEDY TRIAL ACT AND RULE 5.1
16   KRISTINA LANSANG GLORIA,                         )
                                                      )
17           Defendant.                               )
                                                      )
18

19           The parties to the above-captioned matter hereby stipulate and respectfully request that the Status
20 Hearing regarding Arraignment or Preliminary Examination currently scheduled for July 18, 2023 at

21 10:30 a.m. be continued to July 25, 2023, at 10:30 a.m. The parties request this continuance for defense

22 counsel to continue to review discovery and to conduct their investigation and for the parties to continue

23 with ongoing plea negotiations.

24           The parties agree and jointly request that the time between July 18, 2023, and July 25, 2023
25 should be excluded in order to provide reasonable time necessary for the continuity and effective

26 preparation of counsel, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Federal Rule of Criminal
27 Procedure Rule 5.1(d). The parties agree that the ends of justice are served by granting the continuance

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     STIPULATION AND ORDER TO CONTINUE PRELIMINARY EXAMINATION AND EXCLUDE TIME                                1
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 1 and outweigh the best interests of the public and the defendant in a speedy trial.

 2    IT IS SO STIPULATED.                                  STEPHANIE M. HINDS
                                                            United States Attorney
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 4
      Dated: July 14, 2023                                  ______________/s/_______________________
 5
                                                            EVAN M. MATEER
 6                                                          Assistant United States Attorney

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 8    Dated: July 14, 2023                                  ______________/s/_______________________
                                                            MARTHA A. BOERSCH
 9                                                          Counsel for Defendant KRISTINA GLORIA
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     STIPULATION AND ORDER TO CONTINUE PRELIMINARY EXAMINATION AND EXCLUDE TIME                        2
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 1                                                    ORDER

 2          Based on the reasons provided in the stipulation of the parties above, and for good cause shown,

 3 the Status Conference regarding Arraignment and Preliminary Examination in the above-captioned

 4 matter is continued to July 25, 2023 at 10:30 am The Court hereby FINDS that for adequate preparation

 5 of the case by all parties and continuity of counsel, and in the interest of justice, pursuant to 18 U.S.C.

 6 §§ 3161(h)(7)(A) and (B)(iv) and Federal Rule of Criminal Procedure 5.1(d), an exclusion of time is

 7 warranted. Based on these findings, IT IS HEREBY ORDERED THAT the Status Conference

 8 regarding Arraignment and Preliminary Examination is continued until July 25, 2023, at 10:30 a.m., and

 9 time is excluded between July 18, 2023, and July 25, 2023.

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11     IT IS SO ORDERED.

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13     Dated: July 14, 2023                                  HON. KANDIS A. WESTMORE
                                                             United States Magistrate Judge
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     STIPULATION AND ORDER TO CONTINUE PRELIMINARY EXAMINATION AND EXCLUDE TIME                                  3
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